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     Attorney for Defendant,
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 7
                               IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,           )                 No. CR S 04-205 GEB
11                                       )
                 Plaintiff,              )                 STIPULATION AND PROPOSED
12                                       )                 ORDER CONTINUING STATUS
           v.                            )                 CONFERENCE TO JUNE 20, 2008
13                                       )
     CHHOM MAO, and                      )
14   CLEVIE EARL BUCKLEY, JR.            )
                                         )
15                                       )
                 Defendants.             )
16   ____________________________________)
17           Pursuant to the remand order of the Ninth Circuit, the court set a status conference for
18   June 6, 2008. Due to the availability of counsel on that date, and the need for counsel to prepare,
19   the parties hereby stipulate that the status conference be continued to June 20, 2008 at 9:00
20   a.m..
21   DATED: May 27, 2008                           /s/ Tim Warriner,
                                                   Attorney for Defendant, CHHOM MAO
22
23   DATED: May 27, 2008                           /s/ Joseph Wiseman
                                                   Attorney for Defendant, CLEVIE EARL BUCKLE,
24                                                 JR.
25   DATED: May 27, 2008                           /s/ Carolyn Delaney
                                                   Assistant United States Attorney
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 2
 3                                                ORDER
 4          Pursuant to the stipulation of the parties, the status conference set for June 6, 2008 is
 5   hereby continued to June 20, 2008 at 9:00 a.m.
 6   Dated: May 27, 2008
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 8                                             GARLAND E. BURRELL, JR.
 9                                             United States District Judge

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